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                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

IN RE:                                                §       Jointly Administered Under Case:
                                                      §
REMARKABLE HEALTHCARE OF                              §
CARROLLTON LP,                                        §       Case No. 23-42098
EIN: 5960                                             §
                                                      §
                                                      §       Chapter 11
REMARKABLE HEALTHCARE OF                              §
DALLAS, LP,                                           §
EIN : 3418                                            §
                                                      §
                                                      §
REMARKABLE HEALTHCARE OF FORT                         §
WORTH, LP                                             §
EIN: 1692                                             §
                                                      §
                                                      §
REMARKABLE HEALTHCARE OF                              §
SEGUIN, LP                                            §
EIN: 4566                                             §
                                                      §
                                                      §
REMARKABLE HEALTHCARE, LLC,                           §
EIN: 5142                                             §
                                                      §
                                                      §
       Debtors.                                       §


                         NOTICE OF APPEARANCE OF COUNSEL

       The United States of America hereby designates the following Assistant United States

Attorney as counsel for the United States Department of Health and Human Services (“HHS”), a

creditor who intends to file a proof of claim in this case, and respectfully requests that the same be

noted by the Clerk of the Court and that this attorney be added to the list of counsel in this case to

receive all future notices, orders, and filings via the Court’s CM/ECF system:




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                                           Respectfully submitted,

                                           DAMIEN M. DIGGS
                                           UNITED STATES ATTORNEY

                                           /s/ Whitney Tharpe
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                                           Facsimile: (903) 590-1436



                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Notice of Appearance of
Counsel has been electronically served on all counsel of record on December 11, 2023, by way of
the Court’s CM/ECF system.

                                           /s/ Whitney Tharpe
                                           Whitney Tharpe




NOTICE OF APPEARANCE OF COUNSEL                                                        PAGE 2
